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                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION

STEPHEN T. SOUDERS,                                             Case No. 1:24-cv-464

       Plaintiff,                                               Hopkins, J.
                                                                Bowman, M.J.
       v.

MAG. CAROLYN BESL, et al.,

       Defendants.



                          REPORT AND RECOMMENDATION

       On August 29, 2024, Plaintiff Stephen T. Souders moved for leave to file a

complaint in this Court in forma pauperis, or without payment of fees. (Doc. 1). Attached

to Plaintiff’s motion/application is a copy of the proposed complaint. (Doc. 1-2). Plaintiff

identifies three Defendants, all of whom are identified as state court judicial officers with

the Warren County Court of Common Pleas: (1) Magistrate Carolyn Besl; (2) Magistrate

Markus Moll; and (3) Judge Timothy Tepe.

       I. General Screening Authority

       By separate Order issued this date, Plaintiff has been granted leave to proceed in

forma pauperis pursuant to 28 U.S.C. § 1915. As a result, the complaint is now before the

Court for a sua sponte review to determine whether the complaint, or any portion of it,

should be dismissed because it is frivolous, malicious, fails to state a claim upon which

relief may be granted or seeks monetary relief from a defendant who is immune from such

relief. See 28 U.S.C. § 1915(e)(2)(B).
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       Congress has authorized federal courts to dismiss an in forma pauperis complaint

if satisfied that the action is frivolous or malicious. Denton v. Hernandez, 504 U.S. 25, 31

(1992); see also 28 U.S.C. § 1915(e)(2)(B)(i). A complaint may be dismissed as frivolous

when the plaintiff cannot make any claim with a rational or arguable basis in fact or law.

Neitzke v. Williams, 490 U.S. 319, 328-29 (1989); see also Lawler v. Marshall, 898 F.2d

1196, 1198 (6th Cir. 1990). An action has no arguable legal basis when the defendant is

immune from suit or when plaintiff claims a violation of a legal interest which clearly does

not exist. Neitzke, 490 U.S. at 327.

       Congress has also authorized the sua sponte dismissal of complaints which fail to

state a claim upon which relief may be granted. See 28 U.S.C. § 1915(e)(2)(B)(ii).

Although a plaintiff’s pro se complaint must be “liberally construed” and “held to less

stringent standards than formal pleadings drafted by lawyers,” the complaint must “give

the defendant fair notice of what the . . . claim is and the grounds upon which it rests.”

Erickson v. Pardus, 551 U.S. 89, 93 (2007) (per curiam) (quoting Estelle v. Gamble, 429

U.S. 97, 106 (1976), and Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007)

(internal citation and quotation omitted)). The complaint “must contain sufficient factual

matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft

v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Twombly, 550 U.S. at 570); see also Hill v.

Lappin, 630 F.3d 468, 470-71 (6th Cir. 2010) (“dismissal standard articulated in Iqbal and

Twombly governs dismissals for failure to state a claim” under §§ 1915(e)(2)(B)(ii) and

1915A(b)(1)).

       “A claim has facial plausibility when the plaintiff pleads factual content that allows

the court to draw the reasonable inference that the defendant is liable for the misconduct



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alleged.” Iqbal, 556 U.S. at 678 (citing Twombly, 550 U.S. at 556). The Court must accept

all well-pleaded factual allegations as true, but need not “accept as true a legal conclusion

couched as a factual allegation.” Twombly, 550 U.S. at 555 (quoting Papasan v. Allain,

478 U.S. 265, 286 (1986)). Although a complaint need not contain “detailed factual

allegations,” it must provide “more than an unadorned, the-defendant-unlawfully-harmed-

me accusation.” Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 555). A pleading

that offers “labels and conclusions” or “a formulaic recitation of the elements of a cause

of action will not do.” Twombly, 550 U.S. at 555. Nor does a complaint suffice if it tenders

“naked assertion[s]” devoid of “further factual enhancement.” Id. at 557.

       II. Allegations Of Complaint and Judicially Noticed Facts

       Plaintiff’s typed sixteen-page complaint alleges that the three Defendants violated

his civil rights under 42 U.S.C. § 1983 throughout the course of a state court case that

led to the entry of a civil stalking protection order (“CSPO”) against him. This Court takes

judicial notice of the underlying state court proceedings along with the allegations of the

complaint.

       The CSPO in question was granted to a petitioner, Anna Lazor, in whom Plaintiff

had expressed a romantic interest that was not reciprocated. All of Plaintiff’s initial

communications with Ms. Lazor occurred online; the two had never met in person prior to

Ms. Lazor’s request for a civil stalking protection order. For context, the undersigned

includes a factual summary included by the 12th District Court of Appeals for Ohio in a

March 4, 2024 decision that – for the most part - upheld the CSPO.

       (¶2) On or about May 18, 2023, appellant and Lazor began talking on the
       online dating app “Hinge.” As their communications progressed in a positive
       manner, appellant asked that they move their conversation to Facebook. In
       response, Lazor asked for appellant's last name so she could conduct a

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         Google search on him. Appellant told Lazor that his last name was Sowders.
         After a Google search yielded no results, Lazor agreed to communicate with
         appellant on Facebook. After interacting for a while on Facebook, appellant
         asked Lazor for a date. Prior to responding, Lazor decided to investigate
         appellant further to make sure she was safe going on a date with him.
         Consequently, Lazor posted appellant's photograph on a “private Facebook
         community for women.” The Facebook group was created for women to
         post photographs of men and for other women in the group to provide any
         information, including “red flags,” they may have on the individual depicted.

         {¶ 3} Lazor posted appellant's photograph on May 20, 2023. Several women
         in the private Facebook group reported negative interactions with appellant,
         and some indicated he was hostile and dangerous. Upon receiving this
         information, Lazor blocked appellant on Hinge and Facebook. Appellant
         then found Lazor on Instagram on May 21 or May 22, 2023, even though
         Lazor had never provided appellant her Instagram name or handle. Upon
         finding Lazor on Instagram, appellant messaged her and called her out for
         blocking him on Hinge and Facebook. Lazor did not respond to appellant's
         message and instead instantly blocked him on Instagram.

         {¶ 4} On June 7, 2023, Lazor received a message on Facebook from
         Tatiana Koblinski. It is undisputed that the Tatiana Koblinski Facebook
         account was a fake Facebook account appellant had created and which he
         used to message Lazor. Using that Facebook account, appellant messaged
         Lazor, claiming that the information she had received from the private
         Facebook group was not true. Appellant also used the fake Facebook
         account to “text yell” at Lazor for blocking him on other social media
         platforms. Appellant's messages began on the morning of June 7, 2023,
         and continued into the early morning hours of June 8, 2023. Appellant called
         Lazor on Facebook at 12:30 a.m. on June 8, 2023, and last messaged her
         at 2:30 a.m. on June 8, 2023. Lazor did not respond to appellant's numerous
         messages or his call. Sometime on June 8, 2023, Lazor eventually told
         appellant to stop contacting her or she would call the police. On June 15,
         2023, Lazor was served with a defamation lawsuit appellant had filed in
         Hamilton County. A few days later, Lazor received a cease-and-desist letter
         appellant had mailed on June 8, 2023.

         {¶ 5} On June 20, 2023, Lazor petitioned the trial court for and was granted
         an ex parte civil stalking protection order (“CSPO”).

Lazor v. Souders, 2024 -Ohio- 774, ¶¶ 2-5, 2024 WL 912009, at *1 (Ohio App. 12 Dist.,

2024).




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       Pursuant to Lazor’s June 20, 2023 request, the original CSPO was issued ex parte

that same day by Warren County Ohio Magistrate Besl. See Lazor v. Souders, No.

23CS004455, 2023 WL 11811141, at *1 (Ohio Com.Pl., Warren County July 12, 2023).

Plaintiff alleges that the initial CSPO included a firearm restriction, and that Court of

Common Pleas Judge Timothy Tepe “endorsed” the ex parte CSPO including that

restriction. (Doc. 1-2, PageID 11).

       On June 27, 2023, Souders filed a motion to dismiss and to vacate the CSPO. On

July 5, 2023, Lazor and Souders both appeared before Magistrate Moll and provided

testimony at a full evidentiary hearing. On July 12, 2023, Magistrate Moll entered a final

CSPO, concluding that Lazor had established by a preponderance of the evidence that

Souders’ online communications amounted to “engag[ing] in conduct constituting

menacing by stalking under R.C. 2903.214 and R.C. 2903.211.” Lazor v. Souders, No.

23CS004455, 2023 WL 11811141, at *5. Magistrate Moll again included a firearm

restriction as a term of the one-year CSPO.

       On July 20, 2023, Souders filed objections to the magistrate’s decision. (Doc. 1-2,

PageID 11). On September 11, 2023, Court of Common Pleas Judge Timothy Tepe

overruled those objections, confirming the imposition of the one-year CSPO with the

firearm restriction. Lazor v. Souders, No. 23CS004455, 2023 WL 11811140 (Ohio

Com.Pl., Warren County Sep. 11, 2023). Although Judge Tepe’s decision was journalized

on that date, the state court failed to mail a copy to Plaintiff. (Doc. 1-2, PageID 11).

       Plaintiff Souders appealed Judge Tepe’s decision on October 13, 2023. On March

4, 2024, the 12th District Court of Appeals for Ohio rejected most of Souders’ assertions

of error and affirmed the entry of the CSPO against him. However, the Ohio appellate



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court found reversible error in the trial court’s inclusion of a gun restriction, and therefore

modified the CSPO to remove that restriction. See Lazor v. Souders, Ohio Court of

Appeals No.2023-10-080, 2024 WL 912009 (March 4, 2024). Plaintiff’s federal complaint

quotes from the Ohio court’s opinion on this issue, and the undersigned will do the same:

       (¶ 65) We find that the trial court erred in including the firearm restriction in
       the CSPO against appellant. It is undisputed that the parties have never
       met in person and that the only personal contact between them occurred
       during the full hearing. Under any definition of the term, Lazor is not and
       never was an “intimate partner” of appellant. Therefore, 18 U.S.C. 922(g)(8)
       does not apply and does not support the imposition of the firearm restriction.
       We further find that the evidence in the record does not support the
       imposition of the firearm restriction under R.C. 2903.214(E)(1). No evidence
       was presented that appellant used or threatened to use a weapon to cause
       mental distress to Lazor. No evidence was presented that appellant even
       owned a firearm. The firearm restriction therefore does not bear a sufficient
       nexus to the conduct the trial court was attempting to prevent. Wallace v.
       Masten, 4th Dist. Hocking No. 02CA13, 2003-Ohio-1081, ¶ 41.

       {¶ 66} Appellant's second assignment is sustained.

       {¶ 67} In light of all of the foregoing, we find that the trial court did not err in
       issuing the CSPO against appellant. We, however, find that the trial court
       erred in imposing the firearm restriction for the duration of the order. We
       therefore affirm the trial court's decision to issue the CSPO against
       appellant but modify that judgment pursuant to App.R. 12(B), thereby
       vacating the firearm restriction prohibiting appellant from possessing, using,
       carrying, or obtaining any deadly weapon for the duration of the order. Id.
       at ¶ 44 -45.

       {¶ 68} Judgment affirmed as modified.

Lazor v. Souders, 2024 -Ohio- 774, ¶¶ 65-68, 2024 WL 912009, at *9.

       Plaintiff cites to the above language as evidence that all three judicial officers

violated his constitutional rights under the Second, Fourth, Fifth, and Fourteenth

Amendments when they included a gun restriction in the CSPO. He alleges that

Defendants acted “in the absence of all jurisdiction” by failing to adhere to “well-

established law” that prohibited the inclusion of the gun restriction based on the

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undisputed facts of the underlying case. (Doc. 1-2, PageID 7, 13). Plaintiff alleges injury

because he used his firearm for his employment, and lost that employment.1 He claims

monetary damages including “loss of income earning capacity, …emotional distress,

financial hardship, and other damages to be proven at trial.” (Doc. 1-2, PageID 10, 20).

        Plaintiff also alleges that the Defendants’ failure to mail him a copy of the

September 11, 2023 CSPO Entry violated his due process rights under the Fourteenth

Amendment and “deprived the Plaintiff of the opportunity to timely appeal…thereby

causing …further substantial prejudice.” (Doc. 1-2, PageID 15) (emphasis omitted).

        III. Analysis

        Plaintiff’s complaint is legally frivolous under the standards of 28 U.S.C.

§1915(e)(2), because it seeks monetary damages against Defendants who are absolutely

immune from suit. All three Defendants are state court judicial officers. This lawsuit is a

direct challenge to a CSPO order entered by two magistrates and Court of Common Pleas

judge. The trial court’s CSPO decision was recently affirmed by the Ohio Court of

Appeals, with the notable exception of the gun restriction, and the Ohio Supreme Court

declined further review.

        The Ohio Court of Appeals decision, finding reversible error based on the facts

presented, does not mean that the Defendants can be held liable under 42 U.S.C. § 1983

for their judicial errors.2 To the contrary, Plaintiff’s suit is clearly barred by the doctrine of

judicial immunity, which applies to Defendants for actions taken while functioning within




1
 Plaintiff’s in forma pauperis application states that he was employed by GARDA Cash Logistics from
August 2020 through September 2023, but has been unemployed since that time.
2
 In United States v. Rahimi, 602 U.S. ___, 344 S.Ct. 1889 (2024), the Supreme Court recently upheld the
constitutionality of 18 U.S.C. § 922(g)(8) when included in a restraining order that contains a finding that
the individual poses a credible threat to the physical safety of an intimate partner.

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their judicial capacities. “Like other forms of official immunity, judicial immunity is an

immunity from suit, not just from ultimate assessment of damages.” Mireles v. Waco, 502

U.S. 9, 11 (1991); Barrett v. Harrington, 130 F3d 246, 255 (6th Cir. 1997). Judges retain

absolute immunity from liability even if they act maliciously or corruptly, as long as they

are performing judicial acts and have jurisdiction over the subject matter giving rise to the

suit against them. Stump v. Sparkman, 435 U.S. 349, 356-57 (1978); see also Brookings

v. Clunk, 389 F.3d 614, 617 (6th Cir. 2004); Stern v. Mascio, 262 F.3d 600, 607 (6th Cir.

2001). Plaintiff’s cursory allegation that the Defendants acted “in the absence of all

jurisdiction,” (Doc. 1-2, PageID 10), does not make it so. All three judicial officers clearly

acted within their judicial authority in ruling on the CSPO. Therefore, all Defendants are

absolutely immune from civil liability and all claims against them should be dismissed.

        Although Defendants are entitled to immunity, it is worth noting that the Ohio Court

of Appeals opinion also flatly contradicts Plaintiff’s allegation that the ministerial error in

the trial court’s failure to direct the clerk to serve him with a copy of the CSPO denied him

the opportunity to timely appeal. Rejecting Lazor’s contention that Souders’ appeal was

untimely, the Ohio court explained that even though Souders’ appeal was filed on the 32nd

day after the journal entry of Judge Tepe’s September 11, 2023 order, the 30-day time

period to appeal cannot begin to run until both “service and notation of service on the

docket by the clerk of courts” regardless of a party’s actual knowledge of the trial court’s

order.3 Lazor v. Souders, 2024 -Ohio- 774, ¶ 12, 2024 WL 912009, at *2 (internal

quotation marks and additional citation omitted). Essentially, Souders’ appeal was timely


3
 Under Ohio Civ. R. 58(B), when a court enters a judgment it must direct “the clerk to serve upon all parties
…notice of the judgment and its date of entry upon the journal.” The same provision explains that the clerk
must then timely serve the parties “and note the service in the appearance docket,” and that “service is
complete” once so noted on the docket. Id.

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because the 30-day limitation period never began to run. “Because the trial court's

decision does not contain a notation to the clerk to serve appellant with notice of the

judgment, and the clerk did not enter an entry in the appearance docket noting the service

of the entry on appellant in violation of Civ.R. 58(B)…, appellant's appeal is deemed timely

under App.R. 4.” Id.

       IV. Conclusion and Recommendation

       For the reasons stated, IT IS RECOMMENDED THAT all claims contained in

Plaintiff’s complaint be DISMISSED with prejudice pursuant to 28 U.S.C. §1915(e)(2)(B).



                                                         s/Stephanie K. Bowman
                                                        Stephanie K. Bowman
                                                        United States Magistrate Judge




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                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION

STEPHEN T. SOUDERS,                                              Case No. 1:24-cv-464

       Plaintiff,                                                Hopkins, J.
                                                                 Bowman, M.J.
       v.

MAG. CAROLYN BESL, et al.,

               Defendants.


                                          NOTICE

       Pursuant to Fed. R. Civ. P 72(b), any party may serve and file specific, written

objections to this Report and Recommendation (“R&R”) within FOURTEEN (14) DAYS of

the filing date of this R&R. That period may be extended further by the Court on timely

motion by either side for an extension of time. All objections shall specify the portion(s) of

the R&R objected to, and shall be accompanied by a memorandum of law in support of

the objections. A party shall respond to an opponent’s objections within FOURTEEN (14)

DAYS after being served with a copy of those objections. Failure to make objections in

accordance with this procedure may forfeit rights on appeal. See Thomas v. Arn, 474 U.S.

140 (1985); United States v. Walters, 638 F.2d 947 (6th Cir. 1981).




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